Case: 1:14-cv-04970 Document #: 286 Filed: 10/05/18 Page 1 of 1 PageID #:4594

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Phillip Beverly, et al.
                                                        Plaintiff,
v.                                                                       Case No.:
                                                                         1:14−cv−04970
                                                                         Honorable Andrea
                                                                         R. Wood
Chicago State University Board of Trustees, et al.
                                                        Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 5, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Consent Motion to stay
action [284] is granted. Enter order. The motion presentment date of 10/9/2018 is stricken;
parties need not appear. Status hearing set for 10/24/2018 remains firm.If a stipulation to
dismiss is filed prior to the next status date, the hearing will be stricken. Mailed notice(ef,
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ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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